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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 In the Matter of the Search of:                Case No. 19 M 37

 The single family residence located at     Magistrate Judge Jeffrey Cummings
                    , Chicago, Illinois, as
 further described in Attachment A-3        UNDER SEAL

                                       ORDER

      By prior Order in the above-captioned matter, this Court directed the

government to file a redacted version of the Search Warrant and Application and

Affidavit (“Documents”) in this matter so that, following this Court’s review and

approval of those redacted documents, this Court would issue an order unsealing the

redacted documents, with all other filings in the above-captioned matter to remain

permanently sealed.

      The Court found good cause to permanently seal the Documents, as redacted,

to protect uncharged and innocent individual(s) referenced within the Documents

from the genuine harm that could flow from public dissemination of allegations

concerning them that the government made to the Court in support of its search

warrant application. See Matter of EyeCare Physicians of America, 100 F.3d 514, 519

(7th Cir. 1996) (recognizing that “the privacy of the innocent . . . would be threatened”

by unsealing of search warrant affidavits). By granting a permanent seal, the Court

in its discretion is relieving the government from the obligation of having to file an

endless series of extension motions and is minimizing the risk that allegations

concerning innocent or uncharged persons might be revealed to the public through
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some inadvertent oversight. Id., at 517-18 (the decision as to whether to grant access

to judicial records and documents, including the duration of time they may be sealed,

is left to the discretion of the trial court).

       The government has now filed a redacted version of the Search Warrant (Dkt.

No. 22), a redacted version of the Search Warrant return (Dkt. No. 23) and a redacted

version of the Application and Affidavit (Dkt. No. 24).

       This Court has reviewed the redacted Documents and finds them acceptable

for unsealing.

       Accordingly, this Court HEREBY ORDERS:

       A.     The District Court Clerk shall unseal this matter in a manner such that

              the redacted version of the Search Warrant (Dkt. No. 22), the redacted

              version of the Search Warrant return (Dkt. No. 23) and the redacted

              version of the Application and Affidavit (Dkt. No. 24) are the only

              pleadings that are publicly accessible;

       B.     Other than the three redacted documents described in Paragraph A

              above, all other filings in the above-captioned matter, including the

              original Search Warrant and Application and Affidavit, shall remain

              permanently sealed; and

       C.     Any redactions to the caption of the Search Warrant and Application

              and Affidavit shall likewise be made to the name of this matter on the

              publicly accessible docket.


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      D.    This Order should not be understood to modify or affect any order by the

            District Court as to discovery and/or disclosure obligations in the

            charged case before the District Court.      Nor should this Order be

            understood to modify or affect the government’s statutory or

            constitutional disclosure obligations that may relate to the sealed and/or

            redacted documents, or the results of the search(es) itself.


ENTER:




JEFFREY CUMMINGS
United States Magistrate Judge


DATE: 6/8/22




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